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                                                                                                2021 May-03 PM 04:03
                                                                                                U.S. DISTRICT COURT
                                                                                                    N.D. OF ALABAMA
                           UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION
 STATE OF ALABAMA, et al.,                        }
                                                  }
        Plaintiffs,                               }
                                                  }
 v.                                               }
                                                  }
 UNITED STATES DEPARTMENT OF                      }
 COMMERCE, et al.,                                }
                                                  }
        Defendants.                               }
                                                  }
 v.                                               }    Case No.: 2:18-CV-772-RDP
                                                  }
 DIANA MARTINEZ, et al.,                          }
                                                  }
        Intervenor Defendants,                    }
                                                  }
 and                                              }
                                                  }
 JOEY CARDENAS, et al.,                           }
                                                  }
        Cross-Claimants,                          }
                                                  }
 v.                                               }
                                                  }
 BUREAU OF CENSUS, et al.,                        }
                                                  }
        Cross-Defendants.                         }

                                   ORDER OF DISMISSAL
       This matter is before the court on Plaintiff’s Joint Stipulation of Dismissal (Doc. # 213). It

is hereby ORDERED that all claims against each Defendant are DISMISSED WITHOUT

PREJUDICE. The Clerk of Court is DIRECTED to close this action. Costs taxed as paid.

       DONE and ORDERED this May 3, 2021.



                                              _________________________________
                                              R. DAVID PROCTOR
                                              UNITED STATES DISTRICT JUDGE
